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 7

 8                           UNITED STATES DISTRICT COURT

 9               NORTERN DISTRICT OF CALIFORNIA—SAN JOSE DIVISION

10 KRISTEN PEREZ, individually and on behalf   CASE NO. 5:20-cv-07436
   of all others similarly situated,
11                                             NOTICE OF MOTION AND MOTION TO
                      Plaintiff,               COMPEL APPRAISAL AND DISMISS
12                                             THE COMPLAINT OR STAY THE CASE
   v.                                          BY DEFENDANT GEICO INDEMNITY
13                                             COMPANY

14 GEICO INDEMNITY COMPANY, a foreign          Hearing Date: April 22, 2021
   insurance company,                          Hearing Time: 1:30 p.m.
15
                Defendant.                     Judge:         Hon. Lucy H. Koh
16                                             Courtroom:     8, 4th Floor
                                               Address:       280 South 1st Street
17                                                            San Jose, California

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          MOTION TO COMPEL APPRAISAL AND DISMISS OR STAY CASE
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 1                                        NOTICE OF MOTION
 2           PLEASE TAKE NOTICE that on April 22, 2021, at 1:30 p.m., or as soon thereafter as the

 3 matter may be heard in the above-entitled Court, located at Courtroom 8, 4th Floor of the United

 4 States District Court, Northern District of California, San Jose Courthouse 280 South 1 st Street,

 5 San Jose, California, Defendant GEICO Indemnity Company (“GEICO”) will move this Court to

 6 dismiss the Amended Complaint or, in the alternative, to compel Plaintiff Kristen Perez

 7 (“Plaintiff” or “Perez”) to comply with the appraisal provisions of her automobile insurance

 8 policy, which is treated as a mandatory arbitration agreement under the Federal Arbitration Act

 9 (“FAA”) and stay or dismiss this class action. Through this motion, GEICO seeks the following

10 relief:

11                 Dismiss the Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) on the
12                  following grounds:

13                     o Dismiss Count One of the Complaint, asserting a claim for breach of

14                         contract, because Plaintiff does not plausibly allege the elements of her

15                         claim;

16                 In the alternative, if the Court does not dismiss the Complaint, compel Plaintiff to
17                  comply with the appraisal provision of her policy, and dismiss the Complaint or

18                  alternatively stay the case pending the appraisal.

19           This Motion is based on this Notice, the accompanying Memorandum of Points and
20 Authorities, and the Declaration of Ian Shelton; the pleadings and other papers on file in this

21 action; and such other declarations, evidence and argument as may be presented before or at the

22 hearing. Pursuant to Judge Koh’s procedures, GEICO obtained the April 21, 2021 hearing date

23 for the present motion by emailing chambers on December 28, 2020.

24 DATED: December 28, 2020                   EVERSHEDS SUTHERLAND (US) LLP

25                                                By /s/ Ian S. Shelton
26
                                                     Attorneys for Defendant
27                                                   GEICO INDEMNITY COMPANY

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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2          Plaintiff alleges that GEICO breached her insurance policy by not paying her sales tax in

 3 settlement of her total loss auto claim. Because Plaintiff’s theory of liability is irreconcilable with

 4 the governing insurance policy, Plaintiff’s Complaint should be dismissed as a matter of law in its

 5 entirety for failure to state a claim. In the alternative, Plaintiff’s Complaint should be dismissed or

 6 the action stayed because GEICO invoked the mandatory appraisal clause in Plaintiff’s insurance

 7 policy. The Court should therefore compel Plaintiff to comply with the appraisal provision of her

 8 insurance policy, which is treated as a mandatory arbitration agreement, and dismiss or stay this

 9 action pending the appraisal.

10                                     FACTUAL BACKGROUND
11          Plaintiff alleges that on or around July 22, 2018, she was involved in an automobile

12 accident while operating her leased 2018 Honda Clarity Plug-In Hybrid Touring (the “Leased

13 Vehicle”) that resulted in a claim for physical damage to her vehicle under her automobile

14 insurance policy (the “Policy”) with GEICO.1 Class Action Complaint (“Compl.”) at ¶¶ 37-38,

15 Dkt. No. 1. GEICO then allegedly determined that the Leased Vehicle was a total loss with an

16 adjusted value of $36,539.00. See id. ¶ 39.

17          Plaintiff alleges GEICO then paid her $35,924.00 in settlement of the claim, comprised of

18 the full adjusted value of the Leased Vehicle plus $385.00 in state and local regulatory fees, minus

19 her $1000.00 deductible. Id. at ¶¶ 39-41. Plaintiff alleges, however, that GEICO failed to include
20 any amount for sales tax associated with replacing her total loss Leased Vehicle in the claim

21 settlement payment. Specifically, Plaintiff alleges she was entitled to state sales tax in the amount

22 of 7.25% of the adjusted Leased Vehicle value, plus local surtax of 0.25%, totaling “ACV sales

23 tax” of $2,769.30. Compl. at ¶ 42. And that sales tax is a mandatory applicable cost to be paid to

24 replace or purchase a leased vehicle in California. Id. at ¶ 44. Plaintiff alleges that GEICO

25 therefore breached the Policy by purportedly not including “any sales tax in making the ACV

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        1
27         GEICO does not concede any of the factual allegations in the Complaint, but accepts them as
     true only for purposes of this motion.
28

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 1 payment for Plaintiff’s total loss.” Id. at ¶ 45.

 2            Section III of the Policy, Physical Damage Coverages, provides that GEICO will pay the

 3 amount of “each loss, less the applicable deductible.” See Policy, Dkt. No. 1-1 at 8.2 “Loss”3 is

 4 defined as “direct and accidental loss of or damage to” the insured vehicle. Id. at 7. If an insured

 5 sustains a “loss”, the “LIMIT OF LIABILITY” section limits GEICO’s liability to “the actual

 6 cash value of the property at the time of the loss.” Id. at 9. “Actual cash value” is defined as “the

 7 replacement cost of the auto or property less depreciation or betterment.” Id at 7. Replacement

 8 cost is not a defined term under the Policy; “Depreciation” is defined as “a decrease or loss in

 9 value to the auto or property.” Id. The Policy also provides that GEICO, at its option, may pay

10 for the loss or to “repair or replace the damaged or stolen property.” Id. at 10.

11            Section III also contains an appraisal provision which states in full:

12            APPRAISAL

13            If we and the insured do not agree on the amount of loss, either may, within 60 days after
              proof of loss is filed, demand an appraisal of the loss. In that event, we and the insured
14
              will each select a competent appraiser. The appraisers will select a competent and
15            disinterested umpire. The appraisers will state separately the actual cash value and the
              amount of the loss. If they fail to agree, they will submit the dispute to the umpire. An
16            award in writing of any two will determine the amount of loss. We and the insured will
              each pay his chosen appraiser and will bear equally the other expenses of the appraisal and
17            umpire.
18
              We will not waive our rights by any of our acts relating to appraisal.
19
     Id. at 10 (emphasis in original). Once a party invokes appraisal, the process is mandatory and the
20
     determination binds both parties. The appraisal provision is one of many terms with which
21
     Plaintiff agreed to comply prior to bringing suit against GEICO. Id. at 9 (“We cannot be sued: (a)
22
     unless the policy terms have been complied with; and (b) until 30 days after proof of loss is filed
23
     and the amount of loss is determined.”)
24
              Plaintiff’s Complaint was GEICO’s first notice that there was a dispute concerning the
25
     amount of loss paid in settlement of Plaintiff’s claim. See Compl., Dkt. No. 1. After receiving the
26
        2
27          Citations to the Policy are to the Policy page number.
        3
            All terms in bold and italics herein have the same emphasis as in the Policy.
28

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 1 Complaint, GEICO timely invoked its right to appraisal. See GEICO’s Ltr. to Demand Appraisal

 2 (Nov. 19, 2020), attached to the Declaration of Ian Shelton (Dec. 28, 2020) (“Shelton Decl.”), Ex.

 3 A. Plaintiff subsequently rejected GEICO’s invocation of appraisal. See Pl.’s Letter (Nov. 23,

 4 2020), Shelton Decl. Ex. B.

 5                                             ARGUMENT
 6 I.       THE COURT SHOULD DISMISS THE COMPLAINT FOR FAILURE TO STATE
            A CLAIM.
 7
            The Court should dismiss Plaintiff’s sole cause of action for breach of contract pursuant to
 8
     Federal Rule of Civil Procedure 12(b)(6) because she fails to state a claim for relief. In order to
 9
     survive a motion to dismiss, Plaintiff’s Complaint must allege “enough facts to state a claim to
10
     relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A
11
     claim has facial plausibility when the plaintiff pleads factual content that allows the court to draw
12
     the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,
13
     556 U.S. 662, 678 (2009). “The plausibility standard is not akin to a ‘probability requirement,’
14
     but it asks for more than a sheer possibility that a defendant has acted unlawfully.”
15
     Id. (quoting Twombly, 550 U.S. at 556). A claim is facially plausible when “the non-conclusory
16
     ‘factual content,’ and reasonable inferences from that content,” are “plausibly suggestive of a
17
     claim entitling the plaintiff to relief.” Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir.
18
     2009). While a complaint challenged by a Rule 12(b)(6) motion to dismiss does not need detailed
19
     factual allegations, a plaintiff is obligated to set forth “more than labels and conclusions, and a
20
     formulaic recitation of the elements of a cause of action” will not suffice. Twombly, 550 U.S. at
21
     555. Shroyer v. New Cingular Wireless Servs., Inc., 622 F.3d 1035, 1041 (9th Cir. 2010) (citing
22
     Iqbal, 556 U.S. at 677-678).
23
            In California, “[a] cause of action for breach of contract requires proof of the following
24
     elements: (1) existence of the contract; (2) plaintiff’s performance or excuse for nonperformance;
25
     (3) defendant’s breach; and (4) damages to plaintiff as a result of the breach.” CDF Firefighters v.
26
     Maldonado, 158 Cal. App. 4th 1226, 1239 (Cal. Ct. App. 2008). Plaintiff fails to state a claim for
27
     relief because she does not allege that GEICO breached a provision of the Policy or that she
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 1 suffered damages. Thus, the Complaint should be dismissed.

 2          A.      Plaintiff Does Not Allege a Breach of the Policy.
 3          Plaintiff’s theory of liability is irreconcilable with the controlling Policy. Plaintiff’s claim

 4 is founded on allegations that GEICO breached the Policy by failing to pay sales tax in settling

 5
     Plaintiff’s total loss Leased Vehicle claim. See, e.g., Compl. ¶¶ 40-45. Relying solely on the fact
 6
     that the Policy does not exclude sales tax (Compl. ¶ 23), Plaintiff alleges in conclusory fashion
 7
     that taxes should therefore be included. Plaintiff ignores the explicit wording of the Policy and the
 8
     clear and unambiguous insuring provision contained therein.          As such, Plaintiff’s Complaint
 9

10 should be dismissed in its entirety with prejudice.

11           “An insurance policy is subject to the same rules that apply to the construction of contract
12 language, and ‘the mutual intention of the parties at the time the contract is formed governs its

13 interpretation.’”    Allstate Ins. Co. v. Gassmann, No. CV 08-04833-DSF-PLAx, 2010 WL
14 1710306, at *5 (C.D. Cal. Apr. 24, 2010) (citation and quotation omitted); Paulson v. Indus.

15 Accident Comm'n of California, 44 Cal. App. 2d 511, 516 (Cal. Ct. App. 1941) (same). Here, the

16 Policy cannot be interpreted to provide coverage for the sales tax Plaintiff seeks.

17          Plaintiff identifies no provision in the Policy that grants coverage for the taxes she claims
18 in this action. The insuring provision in Section III of the Policy, which establishes the basic grant

19
     of coverage, provides that if a vehicle sustains physical loss or damage, the “loss” will be covered.
20
     “Loss” is defined as “direct and accidental loss of or damage to: (a) an insured auto, including its
21
     equipment; or; (b) other property insured under this section.” Policy at 7, Dkt. No. 1-1. There is
22

23 no reference to taxes. On its face, the insuring provision does not cover the taxes Plaintiff seeks.

24 Plaintiff does not allege otherwise. Nor does the insuring provision contemplate payment of the

25 cost to replace Plaintiff’s Leased Vehicle. Indeed, the Policy’s “payment of loss” provision

26 provides that GEICO, at its option, may (a) “pay for the loss” or (b) “repair or replace the

27
     damaged or stolen property.” Id. at 10. If a payment for a “loss” was equivalent to the payment
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 1 for replacing the Leased Vehicle, as Plaintiff contends, it would render this provision meaningless.

 2          Rather than address the operative insuring provision that provides the coverage grant in the
 3 Policy, Plaintiff instead alleges that the definition of “actual cash value” in the Policy somehow

 4 requires the payment of taxes. Compl. at ¶¶ 20-24, 27. “Actual cash value,” however, is only

 5 used in the Policy’s “LIMIT OF LIABILITY” section. Policy at 9, Dkt. No. 1-1. The Policy’s

 6 “LIMIT OF LIABILITY” section does not provide coverage, but unambiguously places upper

 7 limits on the amount GEICO is required to pay when a loss is covered under the insuring

 8 provision. The Policy states that the most [GEICO] will pay for loss “is the actual cash value of

 9 the property at the time of the loss …” Id. This language does not provide or expand coverage; it

10 establishes the maximum amount payable on a covered loss. Under California law, courts cannot

11 do what Plaintiff seeks, namely to impose additional contractual requirements or expand coverage

12 beyond the unambiguous terms of the insurance policy. Gutowitz v. Transamerica Life Ins. Co.,

13 126 F. Supp. 3d 1128, 1137 (C.D. Cal. 2015) (“[A] court cannot rewrite the policy and bind an

14 insurer to cover a risk that it did not contemplate covering and for which it was not paid.”)

15 (citation omitted); Buck v. Unum Life Ins. Co. of Am., No. C-08-5166 MMC, 2010 WL 887379, at

16 *5 (N.D. Cal. Mar. 11, 2010) (“[T]he California Supreme Court has expressly recognized that

17 courts applying California law cannot rewrite any provision of any contract, including [an

18 insurance policy], for any purpose.”) (citation and punctuation omitted).

19          This plain reading is supported by the definition of “actual cash value” in the Policy: “the
20 replacement cost of the auto or property less depreciation or betterment.” Id. at 7. Depreciation

21 and betterment are only applicable to the physical vehicle—taxes do not depreciate (or increase in

22 value). To read replacement cost as encompassing sales tax, as Plaintiff contends, would render

23 the remainder of the “actual cash value” definition meaningless.

24          Further, Plaintiff’s proposed interpretation of the Policy is squarely at odds with recent
25 decisions from the Seventh Circuit Court of Appeals, Sigler v. GEICO Casualty Insurance

26 Company, and the U.S. District Court for Eastern District of New York, Barlow v. GEICO, which,

27 interpreting the same substantive language in a GEICO policy, which rejected the exact coverage

28 arguments advanced by Plaintiff in this case. Sigler v. GEICO Cas. Co., 967 F.3d 658 (7th Cir.

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 1 2020); Barlow v. GEICO, No. 19-CV-3349 (PKC) (RML), 2020 WL 5802274 (E.D.N.Y. Sept. 29,

 2 2020). As cogently explained by the Seventh Circuit:

 3          [Plaintiff] misconstrues a limitation on liability as a promise to pay. Put slightly
            differently, [Plaintiff] mistakes a liability ceiling for a floor. The Limit of
 4          Liability section of the policy doesn’t promise to pay these costs regardless of
            whether the insured incurs them; it simply describes the most that GEICO will
 5
            pay in the event of a covered loss. To repeat: the coverage-granting language says
 6          only that GEICO will pay for the “collision loss to the owned or non-owned
            auto,” with “loss” defined as “direct and accidental loss of or damage to” an
 7          insured vehicle or “[o]ther insured property.”

 8          [Plaintiff] argues that the policy’s “silence” on whether he is entitled to payment
            for taxes and fees he did not incur should be interpreted in favor of coverage
 9
            because GEICO cannot point to unambiguous language that excludes these
10          particular costs. That gets things backward. Analysis of exclusions does not come
            into play unless these costs are encompassed within GEICO’s basic coverage
11          grant in the first instance; an insurance policy does not need to exclude coverage
            for something that it does not cover to begin with. Sigler, 2020 WL 4251699, at
12          *2; see also Barlow, 2020 WL 5802274, at *5 (holding “ACV” does not include
            fees). As did both the Seventh Circuit and the Southern District of New York,
13
            this Court should find that “ACV” is a limit of liability and not a grant of
14          coverage.

15 Sigler, 967 F.3d at 660; see also Sylvester v. Depositors Ins. Co., No. 20-1322, 2020 WL 4934361,

16 at *5 (E.D. Pa. Aug. 24, 2020) (same). Furthermore, even if Plaintiff is correct and “ACV” is an

17
     insuring provision, the term “replacement cost” in the actual cash value definition does not
18
     encompass ancillary costs like sales tax. In Barlow, the court specifically rejected this same
19
     argument, noting that “while the term ‘replacement cost’ could be colloquially understood as all
20

21 expenses Plaintiffs must pay to obtain a new car and to encompass the entire ACV . . . , that

22 colloquial understanding does not govern contract interpretation.” Barlow, 2020 WL 5802274, at

23 *5. Like the Seventh Circuit and the Eastern District of New York, this Court should find that

24
     actual cash value is a limit of liability and not a grant of coverage, and dismiss the Complaint with
25
     prejudice.
26
            B.      Plaintiff Does Not Adequately Plead Damages.
27
            Plaintiff also fails to plausibly allege damages because there is no allegation that she paid
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 1 sales tax in connection with her lease of the Leased Vehicle. “Damages are an essential element

 2 of a breach of contract claim.” Behnke v. State Farm Gen. Ins. Co., 196 Cal. App. 4th 1443, 1467-

 3 68 (Cal. Ct. App. 2011) (citing Navellier v. Sletten, 106 Cal. App. 4th 763, 775 (2003)). The

 4 statutory measure of damages for breach of contract is “the amount which will compensate the

 5 party aggrieved for all the detriment proximately caused thereby, or which, in the ordinary course

 6 of things, would be likely to result therefrom.” Cal. Civ. Code § 3300. Here, Plaintiff alleges no

 7 actual damages or detriment from GEICO’s purported breach. “Plaintiff’s conclusory allegation

 8 that she and the Class ‘are damaged’ is insufficient to plead this element of her contract claim.”

 9 Svenson v. Google Inc., 65 F. Supp. 3d 717, 723 (N.D. Cal. 2014).

10          Plaintiff does not allege that she suffered damages because she paid sales tax with respect

11 to the Leased Vehicle. 4 Consequently, the fact that GEICO “refused or otherwise failed to pay

12 ACV Sales Tax as part of its purported ACV payment to Plaintiff,” as Plaintiff alleges in her

13 Complaint, does not matter because Plaintiff does not allege that she paid out-of-pocket sales tax

14 and suffered damages because she was not reimbursed. Compl. ¶ 68. Nor does Plaintiff allege

15 that she suffered damages in connection with procurement of a replacement vehicle following her

16 total loss. The Iqbal/Twombly pleading standard requires Plaintiff to move beyond a generic

17 recitation of the elements and factually identify the damages she allegedly suffered. Plaintiff fails

18 to do so. Insurance is a contract of indemnity designed to make the insured whole. Plaintiff

19 argues that the Policy requires GEICO to pay sales tax because it “is incontrovertibly an element
20 of the replacement cost of the vehicle, and is therefore incontrovertibly an element of the ACV of

21 the insured vehicle” (Compl. ¶ 27 (emphasis added)), but Plaintiff does not allege that she actually

22 incurred sales tax liability in acquiring or replacing the Leased Vehicle. In requesting that GEICO

23 pay sales tax to Plaintiff when there is no allegation that Plaintiff paid sales tax, she is seeking

24 contract damages without pleading that she suffered any loss.

25
        4
26       Unlike a vehicle purchase, the lease of a vehicle in California typically does not involve
   payment of sales tax upfront in a lump sum based on the vehicle value. Rather, sales tax is only
27 incurred on a monthly basis based on a number of factors, including rent charges. 18 CA ADC §
   1660 -1661.
28

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 2 II.       THE COURT SHOULD COMPEL APPRAISAL AND DISMISS THE
             COMPLAINT OR STAY THE CASE PENDING THE APPRAISAL.
 3
             A.     The Appraisal Provision Is Enforceable as a Mandatory Arbitration
 4
                    Agreement.
 5
             Plaintiff’s claims are, in sum, that GEICO underpaid the “Actual Cash Value” owed in
 6
     settling the total loss claim on the insured vehicle by not including amounts for certain taxes. As
 7
     noted above, the Policy contains an unambiguous appraisal provision whereby either GEICO or
 8
     Plaintiff can invoke appraisal in the event that there is disagreement on the amount of the loss.
 9
     GEICO invoked the appraisal provisions of the Policy through its November 19, 2020, letter to
10
     Plaintiff, and Plaintiff has not agreed to proceed with appraisal or to dismiss or stay this action
11
     until the appraisal process is complete.
12
             Appraisal is a form of arbitration subject to the Federal Arbitration Act, 9 U.S.C. §1, et
13
     seq. (“FAA”).5 The FAA reflects a “liberal federal policy favoring arbitration agreements.”
14
     Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 25 (1991) (citation and quotation omitted).
15
     The Court’s role under the FAA is “limited to determining (1) whether a valid agreement to
16
     arbitrate exists and, if it does, (2) whether the agreement encompasses the dispute at issue.”
17
     Chiron Corp. v. Ortho Diagnostic Sys. Inc., 207 F.3d 1126, 1130 (9th Cir. 2000).
18
             Federal courts give full effect to appraisal provisions under the FAA. See Pavlina v.
19
     Safeco Ins. Co. of Am., No. 12-CV-534-LHK, 2012 WL 5412796, *6 (N.D. Cal. Nov. 6, 2012)
20
     (invoking FAA and granting motion for judgment on the pleadings and dismissing case because
21
     “the Insurance Policy bars the Plaintiff from pursuing this action against the Defendant while the
22
     dispute over the actual cash value of the Leased Vehicle has not been addressed through
23
     appraisal”); Garner v. State Farm Mut. Auto. Ins. Co., No. C 08-1365 CW, 2008 WL 2620900, at
24

25       5
        State law governs whether an appraisal constitutes arbitration for purposes of the FAA.
26 Wasyl, Inc. v. First Boston Corp., 813 F.2d 1579, 1582 (9th Cir. 1987). Under California law,
   agreements providing for “appraisals” are treated as arbitration agreements. Cal. Civ. Proc. Code
27 (“CCP”) § 1280(a). Once it is determined that a contractual provision is an arbitration agreement,
   the FAA governs. Wasyl, 219 F.3d at 1582.
28

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             MOTION TO COMPEL APPRAISAL AND DISMISS OR STAY CASE
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 1 *3, *10 (N.D. Cal. June 30, 2008) (invoking FAA and granting motion to compel appraisal and

 2 stay the case).

 3          Although centering on certain taxes Plaintiff contends were not included in her settlement,

 4 Plaintiff’s claims are at their core a disagreement concerning the “amount of the loss.” See e.g.,

 5 Compl. ¶ 68, Dkt. No. 1 (“Defendant refused or otherwise failed to pay ACV Sales Tax as part of

 6 its purported ACV payment to Plaintiff and every Class member, following Defendant’s

 7 determination that a vehicle was a total loss.”). In fact, Plaintiff alleges GEICO pays sales tax as

 8 part of the settlement of total loss claims under certain circumstances illustrating that this dispute,

 9 as plead by Plaintiff, centers on the amount of GEICO’s total loss payment. Id. at 4, 35, 45, 68.

10 Thus the allegations of the Complaint demonstrate there is a dispute over the amount of the loss,

11 and appraisal will determine what—if anything—remains to be paid on Plaintiff’s insurance

12 claim. 6 See Garner, 2008 WL 2620900, at *7 (dispute over ACV of stolen vehicle falls within

13 appraisal provision); Pavlina, 2012 WL 5412796, at *5 (appraisal provision encompasses dispute

14 over ACV of destroyed vehicle); Pivonka v. Allstate Ins. Co., No. 2:11-CV-1759-GEB-CKD,

15 2011 WL 6153611, at *1, *4 (E.D. Cal. Dec. 12, 2011) (dispute over ACV of personal property

16 damaged or destroyed in fire is within the policy’s appraisal provision); Enger v. Allstate Ins. Co.,

17 407 F. App’x 191, 193 (9th Cir. 2010) (affirming dismissal of case for failure to comply with the

18 appraisal process regarding ACV of her personal property). Appraisal is an efficient dispute

19 resolution mechanism in cases such as this, where the dispute is about the amount of the insured
20 loss.7

21
        6
22         By the plain language of the Policy, it is immaterial that Plaintiffs believe the cause of the
     disagreement concerning the “Actual Cash Value” of their total loss vehicles is GEICO’s alleged
23   failure to give appropriate credit for certain components of the “loss” allegedly covered by the
     Policy. The Policy makes no exception related to the reason for the disagreement, so long as the
24   parties “do not agree on the amount of loss.” See Policy, Dkt. No. 1-1 at 10. Plaintiff cannot
     plausibly argue that the allegations of the Amended Complaint regarding underpayment of “Actual
25
     Cash Value” do not fall within the broad scope of this provision.
         7
26         GEICO notes that Judge Gilliam denied a request by GEICO to compel appraisal in a matter
     involving similar, but not identical, issues. See In re GEICO, Case No. 4:19-cv-03768-HSG Skt.
27   No. 58 (N.D. Cal. Dec 2, 2019). That decision is not binding on this Court, and GEICO suggests
     that appraisal is appropriate under these circumstances. See Weimer v. Cnty. of Kern, No. 1:06-
28       (footnote continued)

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 1          A recent decision from the District Court for the Middle District of Florida in McGowan v.

 2 First Acceptance Ins. Co., Inc. is instructive. No. 8:19-cv-01101-SCB-CPT, Dkt. No. 30 (M.D.

 3 Fla. Aug. 14, 2019), Shelton Decl., Ex. C. In McGowan, the plaintiffs alleged, as here, that

 4 defendant underpaid “Actual Cash Value” in settling his total loss claim by failing to include sales

 5 tax, title fees and tag fees. Id. Defendant moved to compel appraisal, citing the, substantially

 6 similar, appraisal provision in its policy. Id. The court granted defendant’s motion and dismissed

 7 the action pending appraisal, finding plaintiff’s claims for taxes and fees were in fact a dispute

 8 concerning the amount of the loss for the totaled vehicle, and thus were subject to appraisal. Id. A

 9 similar decision is warranted here.

10          GEICO is contractually entitled to have the appraisal process completed prior to suit on the

11 Policy. Because Plaintiff’s claim concerns only the amount of loss, and the amount of loss must

12 be determined by appraisal, the breach of contract claims at issue are subject to the appraisal

13 provision of the Policy. The Court should compel Plaintiff to comply with it. 8

14          B.     The Court Should Dismiss the Complaint or Alternatively Stay the Case
                   Pending the Appraisal.
15
            GEICO is contractually entitled to have the appraisal process completed prior to suit on the
16
     Policy. The Policy’s “ACTION AGAINST US” provision states the insured may not bring suit
17

18

19 CV-00735, 2007 WL 14353, at *9 (E.D. Cal. Jan. 3, 2007) (holding that comments “are not
   binding for the purposes of [a] civil action, as the parties and issues are different”).
20     8
         GEICO maintains that an order compelling Plaintiff to comply with the appraisal provision
   of the Policy is mandated by the FAA. However, GEICO would be entitled to the same relief
21
   under California law. The California Arbitration Act (“CAA”) provides that an enforceable
22 arbitration “agreement” includes “agreements providing for valuations, appraisals, and similar
   proceedings. . . .” Cal. Civ. Proc. Code § 1280(a). Under California law, “‘an agreement to
23 conduct an appraisal contained in a policy of insurance constitutes an agreement within the
   meaning of [Code of Civil Procedure] section 1280, subdivision (a), and therefore is considered to
24 be an arbitration agreement subject to the statutory contractual arbitration law.’” Lambert v.
   Carneghi, 158 Cal. App. 4th 1120, 1129 (2008) (quoting Louise Gardens of Encino Homeowners
25
   Ass’n v. Truck Ins. Exch., 82 Cal. App. 4th 648, 658 (2000) (reversing trial court’s order vacating
26 appraisal award and finding that an agreement providing for an appraisal “is considered to be an
   arbitration agreement subject to statutory contractual arbitration law”); Appalachian Ins. Co. v.
27 Rivcom Corp., 130 Cal. App. 3d 818, 824 (1982) (“an agreement providing for an appraisal is
   included within the concept of agreements to arbitrate”).
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           MOTION TO COMPEL APPRAISAL AND DISMISS OR STAY CASE
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 1 against GEICO unless “the policy terms have been complied with.” Policy, Dkt. No. 1-1 at 9

 2 (page 31 of Policy). Because GEICO has invoked appraisal, Plaintiff’s suit should be dismissed

 3 pending completion of the appraisal process. See Enger v. Allstate Ins. Co., 682 F. Supp. 2d 1094,

 4 1099 (E.D. Cal. 2009) (dismissing action for failure to comply with appraisal clause), aff’d, 407 F.

 5 App’x 191, 193 (9th Cir. 2010); Pavlina, 2012 WL 5412796, at *6 (same); McGowan v. First

 6 Acceptance Ins. Co., Inc., Shelton Decl., Ex. B.

 7          If the Court declines to dismiss the case, it should at a minimum compel the appraisal and

 8 stay the case pending the outcome of the appraisal. The Court has the option of dismissing the

 9 case, or alternatively staying the case pending arbitration. Lewis v. UBS Fin. Servs. Inc., 818 F.

10 Supp. 2d 1161, 1165 (N.D. Cal. 2011) (“Where the claims alleged in a pleading are subject to

11 arbitration, the Court may stay the action pending arbitration or dismiss the action.”); see also 9

12 U.S.C. § 3 (providing for stay under FAA); Cal. Civ. Proc. Code § 1281.4 (providing for stay

13 under CAA). While GEICO believes dismissal is appropriate, if the Court is not inclined to

14 dismiss the action, based on the authorities set forth above, it should at a minimum compel

15 arbitration and stay the litigation pending completion of appraisal. See Pivonka v. Allstate Ins.

16 Co., No. 2:11-cv-GEB-CKD, 2011 WL 6153611, at *4 (granting motion to compel appraisal and

17 stay the case); 730 I St. Inv’rs, LLC v. Evanston Ins. Co., No. 2:19-CV-00040-JAM-CKD, 2019

18 WL 1869851, at *4-5 (E.D. Cal. Apr. 25, 2019) (granting motion to compel appraisal and stay the

19 case).
20                                           CONCLUSION
21          GEICO respectfully requests that the Court dismiss the case in its entirety for failure to

22 state a claim or, in the alternative, grant the motion to compel appraisal and dismiss or stay the

23 case pending the appraisal.

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            MOTION TO COMPEL APPRAISAL AND DISMISS OR STAY CASE
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 1
     DATED: December 28, 2020      EVERSHEDS SUTHERLAND (US) LLP
 2

 3
                                      By /s/ Ian S. Shelton
 4
                                         Attorneys for Defendant
 5                                       GEICO INDEMNITY COMPANY

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 1                                       PROOF OF SERVICE
 2         On December 28, 2020, I caused to be served the above-referenced document by the

 3 Court’s electronic CM/ECF system. The transmission was reported as complete and without error.

 4         I declare under penalty of perjury under the laws of the United States that the above is true

 5 and correct.

 6 DATED: December 28, 2020                 EVERSHEDS SUTHERLAND (US) LLP

 7
                                                By /s/ Ian S. Shelton
 8
                                                  Ian S. Shelton
 9
                                                   Attorneys for Defendant
10                                                 GEICO INDEMNITY COMPANY

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           MOTION TO COMPEL APPRAISAL AND DISMISS OR STAY CASE
